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rN THE UNITED sTATEs DISTRICT COURT F‘l~'l‘?‘i" L`“' pm D-C»

 

  
   

 

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UNITED STATES OF AMERICA ‘.tf."?.= 13 l 38
V. 05-20250-03-M1
ERICA MILLER
ORDER oN ARRAIGNMENT

 

This cause came to be heard on W',t 7 7, 20 05 , the United States Attorney

for this district appeared on behalf of the@vernréient, and the defendant appeared in person and with
counsel:

NAME pa M M}‘H who is Retained/Appointed.

The defendant, through counseq:vaived formal arraignment and entered a plea ofnot guilty.

 

All motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

he defendant, Who is not in custody, may stand on his present bond.

The defendant, (notl having made bond! (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

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UNITED STATES MAGISTRA'I`E IUDGE

CHARGES: 18:1343 & 2;

U. S. Attorney assigned to Case: C. McMullen

Age: g (4

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with ama se ann/or 32{@) sach on 2 “Q ;QS

 
 

UNITED sTATE DRISTIC COURT - WESTERN D'S'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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LAW OFFICE OF ROBERT C. IRBY
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Honorable J on McCalla
US DISTRICT COURT

